      Case 1:24-cr-00556-DEH            Document 155-3        Filed 03/04/25     Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,                             Case No. 24 Cr. 556 (DEH)
                                 Plaintiff,

           v.                                          [PROPOSED] ORDER GRANTING
                                                       MOTION TO ADMIT COUNSEL PRO
 ERIC ADAMS,                                           HAC VICE
                                 Defendant.




          The motion of DAN JACKSON, for admission to practice Pro Hac Vice in the above

captioned action is granted.

          Applicant has declared that he is a member in good standing of the bar of the State of

California; and that his contact information is as follows:
          Dan Jackson
          Keker, Van Nest & Peters LLP
          633 Battery Street
          San Francisco, CA 94111-1809
          Telephone: 415-391-5400
          Facsimile: 415-397-7188
          Email: djackson@keker.com
          Applicant having requested admission Pro Hac Vice to appear for all purposes as counsel

for Amici Curiae Former Federal Jurists in the above-entitled action:

          IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hac Vice in the

above captioned case in the United States District Court for the Southern District of New York.

All attorneys appearing before this Court are subject to the Local Rules of this Court, including

the Rules governing discipline of attorneys.



Dated: ________________________
                                                       Hon. Dale E. Ho
                                                       United States District Judge



                                                  1
2882850
